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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RCH:AXB/LZ                                          610 Federal Plaza
F. #2022R01030                                      Central Islip, New York 11722



                                                    October 27, 2023


By Hand

Joseph W. Murray
185 Great Neck Road, Suite 461
Great Neck, NY 11021
joe@jmurray-law.com

               Re:     United States v. George Santos
                       Criminal Docket No. 23-197 (JS) (AYS)

Dear Mr. Murray:

              Enclosed please find discovery in accordance with Rule 16 of the Federal Rules
of Criminal Procedure. This discovery supplements the government’s earlier productions from
June 27, 2023 and September 6, 2023. The government renews its request for reciprocal
discovery from the defendant.

                This discovery is provided under the terms of the Stipulation and Protective Order
signed by the defendant and entered on or about June 22, 2023, by United States District Judge
Joanna Seybert in the above-captioned matter. See Dkt. No. 29. Please note that the government
has designated DOJ-0000353766 to DOJ-0001169113 as Sensitive Discovery Materials, which
are subject to additional restrictions.

               Further, upon review of the Superseding Indictment, the government observed
typographical errors involving the anonymized labels of the individuals referenced in Counts
Eleven, Twelve, Thirteen, Fourteen, and Fifteen. The narrative portion of the Company #1 Fraud
Scheme provides the correct anonymized labels for these individuals. See Superseding
Indictment, Dkt. No. 50 ¶¶ 49–56. Thus, these Counts should appear in the Superseding
Indictment as they do below (corrections in bold and underlined):

     Count           Approximate Date                            Description

 ELEVEN          October 4, 2022         Email on behalf of Company #1 to Contributor #13
                                         falsely stating that funds received from Contributor
                                         #13 would be used in support of DEVOLDER
                                         SANTOS’s candidacy for the House.
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 TWELVE         October 12, 2022       Email on behalf of Company #1 to Contributor #14
                                       falsely stating that funds received from Contributor
                                       #14 would be used to independently support
                                       DEVOLDER SANTOS’s candidacy for the House and
                                       that Company #1 was a Section 501(c)(4) social
                                       welfare organization that could accept limitless
                                       contributions.

 THIRTEEN       October 20, 2022       Email on behalf of Company #1 to Contributor #13
                                       falsely stating that funds received from Contributor
                                       #13 would be used, in part, to purchase television
                                       advertisements supporting DEVOLDER SANTOS’s
                                       candidacy for the House.

 FOURTEEN       October 21, 2022       Text message from DEVOLDER SANTOS to
                                       Contributor #14 falsely stating that funds received
                                       from Contributor #14 would be used, in part, to
                                       purchase television advertisements supporting
                                       DEVOLDER SANTOS’s candidacy for the House.

 FIFTEEN        October 25, 2022       Text message on behalf of Company #1 to Contributor
                                       #13 falsely stating that funds received from
                                       Contributor #13 would be used, in part, to purchase
                                       television advertisements supporting DEVOLDER
                                       SANTOS’s candidacy for the House.

            Finally, in an abundance of caution, the government discloses to the defendant that




                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:    /s/ Ryan C. Harris
                                                  Ryan C. Harris
                                                  Anthony Bagnuola
                                                  Laura Zuckerwise
                                                  Assistant U.S. Attorneys
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                                       682


                                                COREY R. AMUNDSON
                                                Chief
                                                Public Integrity Section
                                                Criminal Division
                                                U.S. Department of Justice


                                      By:        /s/ Jacob R. Steiner
                                                Jacob R. Steiner
                                                John P. Taddei
                                                Trial Attorneys


Enclosures:

   1) Attachment A- Discovery Index
   2) One encrypted hard drive




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